
PER CURIAM.
A few months ago B. F. Seheidler and W. S. Wells filed suits-against the Big Four Railroad in common pleas court, for overcharging them in going from Tiffin to Berwiok and from Tiffin to Carey. For the former village, which is 8.62 miles, the company charged 30 cents for the distance. The distance to Carey is 15.6 miles, and for this the charge is 50 cents. The rate charged is beyond the three-cent mileage allowed by law, and the common pleas court held that the railroad companies-had the right to a multiple of five above the rate of the real distance.
PER CURIAM.
Railroad companies have no right to charge that amount above the actual rate; the fare should always be made that multiple of five nearest reached by multiplying the rate by the distance.
